                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TENNESSEE
                               KNOXVILLE DIVISION


 UNITED STATES OF AMERICA                  )
                                           )
 v.                                        )      3:02-CR-78
                                           )      JUDGE JARVIS/SHIRLEY
 WALTER WILLIAMS                           )


                                         ORDER

               On the petition of the United States of America by James R. Dedrick, Acting

 United States Attorney for the Eastern District of Tennessee,

               It is ordered that the Clerk of this Court be and hereby is instructed to issue

 a writ of habeas corpus ad prosequendum to the Warden of the West Tennessee State

 Prison, Henning, Tennessee 38041, to bring Walter Williams (TOMAS #206395, Register

 No.: 30224-074) before this Court at Knoxville, Tennessee, on May 3, 2006, at 11:00 a.m.,

 for resentencing, or for his case to be otherwise disposed of upon said indictment

 heretofore returned against him, and each day thereafter until said case is disposed of, and

 immediately thereafter be returned to said West Tennessee State Prison, Henning,

 Tennessee 38041.

               And it is further ordered that in the event the Warden of said West Tennessee

 State Prison, Henning, Tennessee 38041, so elects, the United States Marshal for the

 Eastern District of Tennessee, or any other duly authorized United States Marshal or

 Deputy United States Marshal, is directed to receive said Walter Williams (TOMAS

 #206395, Register No.: 30224-074) into his custody and transport him to and from said




Case 3:02-cr-00078-TAV-DCP        Document 904       Filed 03/15/06     Page 1 of 2    PageID
                                        #: 260
 West Tennessee State Prison, Henning, Tennessee 38041, and this Court for the aforesaid

 purpose.


                                         ENTER:


                                           s/ C. Clifford Shirley, Jr.
                                         United States Magistrate Judge




Case 3:02-cr-00078-TAV-DCP      Document 904      Filed 03/15/06     Page 2 of 2   PageID
                                      #: 261
